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8                     IN THE UNITED STATES DISTRICT COURT

9                   FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA           ) CR. NO. S-05-0034-LKK
12                                      )
                     Plaintiff,         )
               v.                       ) ORDER SETTING FURTHER DATES
13
                                        ) AND EXCLUDING TIME
     LINDA CHANEY,                      ) UNDER THE SPEEDY TRIAL ACT
14   JAY McCASTLE,                      )
     DAVID TALCOTT USSERY, and          )
15   ROBERT ROBINSON,                   )
16                                      )
                     Defendants.
                                        )
17

18        Based upon request of the parties and representations made in

19   open court on December 20, 2005, IT IS HEREBY ORDERED:

20        This matter is set over for a further motions hearing on

21   February 22, 2005.

22        The government shall file any opposition to the any further

23   motions of the defendants by February 7, 2006; the defendants shall

24   file any replies by February 14, 2006.

25        The Court finds that the defendants< counsel reasonably require

26   additional time to review recently provided additional discovery

27   with their clients and to conduct investigation for effective
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1    preparation of any additional motions to be filed on behalf of their

2    clients.

3         The Court further finds that the ends of justice served by

4    granting the defendant's counsel time to diligently prepare motions

5    outweigh the best interest of the defendant and the public in a

6    speedy trial.

7         Accordingly, the Court orders that time shall be excluded until

8    February 22, 2006, under the Speedy Trial Act, 18 U.S.C. §

9    3161(h)(8)(iv) (T-4 / preparation of counsel).        In addition, time

10   should be excluded from the computation of the Speedy Trial Act due

11   to the pendency of previously filed motions upon which the Court had

12   not yet ruled pending further development such as an anticipated

13   superseding indictment and given counsels' request to supplement at

14   least one of those motions if necessary. 18 U.S.C. § 3161(h)(1)(E).

15        Trial Confirmation shall occur on February 22, 2006; Trial

16   shall commence March 16, 2006.

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19   Dated: December 20, 2005               /s/ Lawrence K. Karlton
                                            HON. LAWRENCE K. KARLTON
20                                          UNITED STATES DISTRICT JUDGE
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